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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                       MDL NO. 2724
 PRICING ANTITRUST LITIGATION                         16-MD-2724


 IN RE: CLOBETASOL CASES                              DPP CASE: 16-CB-27241
                                                      EPP CASE: 16-CB-27242


 IN RE: CLOMIPRAMINE CASES                            DPP CASE: 16-CM-27241
                                                      EPP CASE: 16-CM-27242


 THIS DOCUMENT RELATES TO:                            HON. CYNTHIA M. RUFE
 DPP AND EPP BELLWETHER ACTIONS


         THE BELLWETHER PARTIES’ JOINT STIPULATION RELATED TO
              EPP CLOMIPRAMINE AND DPP CLOBETASOL CASES

       WHEREAS, pursuant to Pretrial Order No. 294 (MDL Doc. 3282), the parties to the

bellwether cases captioned above have been preparing these matters for trials to commence in

August 2025;

       WHEREAS, the Court’s April 23, 2025 Order (MDL Doc. 3347) set two of the four cases

for an August 4, 2025 trial pool, with the EPP Clobetasol case to begin August 4, 2025, and the

DPP Clomipramine case to follow;

       WHEREAS, the parties agree that focusing their pretrial preparations on the cases

currently scheduled for trial – EPP Clobetasol and DPP Clomipramine – will maximize

efficiency and conserve the resources of the parties and the Court;
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        WHEREAS, the parties agree that, subject to Court approval, adjournment of the pretrial

schedule for EPP Clomipramine and DPP Clobetasol is appropriate to conserve the resources of

the parties and the Court;

        WHEREAS, the parties further agree that, subject to Court approval, in the absence of

settlements after the initial set of trials or other direction from the Court, a deadline for

resumption of pretrial preparations of the EPP Clomipramine and DPP Clobetasol cases is

appropriate;

        NOW THEREFORE, the undersigned Bellwether Parties hereby STIPULATE AND

AGREE as follows:

        1.      Effective May 9, 2025, the deadlines in PTO 294 shall be adjourned for EPP

Clomipramine and DPP Clobetasol, except as to proceedings relating to summary judgment,

which shall continue for all four DPP/EPP bellwether cases.

        2.      Provided the parties to either EPP Clomipramine or DPP Clobetasol are unable to

reach settlement, the pretrial activities required by PTO 294 shall resume for one or both cases

with Motions on Disputed Legal Issues due 45 days after the jury reaches a verdict in the Court’s

last trial of either EPP Clobetasol or DPP Clomipramine.

        3.      Provided one or both of EPP Clomipramine or DPP Clobetasol resumes pretrial

activities as described above, the parties to that action or those actions will negotiate a revised

pretrial schedule using the same time intervals provided in PTO 294 starting with Motions on

Disputed Legal Issues, subject to adjustments that account for the Court’s schedule (including

available trial dates for EPP Clomipramine and/or DPP Clobetasol) and other appropriate

considerations such as holidays.

        4.      For instance, events that will occur one week after the May 9, 2025 deadline for



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Motions on Disputed Legal issues in EPP Clobetasol and DPP Clomipramine (i.e., May 16, 2025

exchanges of objections to witness lists, motions for limited discovery on authenticity and

admissibility for good cause shown, exchanges of objections and counter-designations,

exchanges of drafts of stipulations of undisputed facts, and exchanges of drafts of jury

instructions and verdict forms), would occur one week after the Motions on Disputed Legal

Issues in EPP Clomipramine and DPP Clobetasol (e.g., if Motions on Disputed Legal Issues are

due on October 13, 2025, those other events are due on October 20, 2025).

        IT IS SO STIPULATED.

Dated: May 9, 2025

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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2025, a true and correct copy of the foregoing was served

via CM/ECF upon all counsel of record.



Dated: May 9, 2025                                                 /s/ Seth A. Moskowitz




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